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 5
 6   Attorney for Defendant
     ROBERT LARRY MOORE
 7
                  IN THE UNITED STATES OF DISTRICT COURT FOR THE
 8
                          EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,
11                                                CR.S. No. 2:13-CR-00258 TLN
             Plaintiff,
12                                                   STIPULATION AND ORDER FOR
13                  v.                               TEMPORARY RELEASE TO ATTEND
                                                     FUNERAL SERVICES
14   RODNEY LYNN BRAUN,
     ROBERT LARRY MOORE,
15
16         Defendants.
17
18
           Defendant ROBERT LARRY MOORE by and through his counsel, TASHA
19
     PARIS CHALFANT, and the United States Government, by and through its counsel,
20
     OLUSERE OLOWOYEYE, Assistant United States Attorney, hereby stipulate to the
21
     following:
22
           It has been agreed by all parties for a temporary release of Mr. MOORE from
23
     Thursday, September 18, 2014 at 8:00 a.m. to Tuesday, September 23, 2014 by 2:00
24
     p.m., to attend the funeral and burial of ashes for his son, ROBERT LARRY MOORE,
25
     JR. Mr. MOORE, SR. is currently in custody at the Sacramento County Jail pending
26
     charges in the above case; the matter is next scheduled for October 9, 2014, for Status
27
     Conference.
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 1         Mr. MOORE JR. passed away on September 7, 2014, after being admitted to the
 2   hospital on September 3, 2014. Mr. MOORE JR. was partially disabled and wheelchair
 3   bound, but he unexpectedly passed away from liver and kidney failure. The funeral is
 4   scheduled for Friday, September 19, 2014, between 6:00 p.m. to 8:00 p.m. at Blevins
 5   Funeral Home, located at 417 Lee Street, Bristol, Virginia 24201. The private ceremony
 6   for burial of ashes is on Saturday, September 20, 2014, at 2:00 p.m. at the Shipley
 7   Cemetery, located at 412 Hayes Road, Bluff City, Tennessee 37620.
 8         The government does not oppose this request. Counsel for the government agree
 9   and stipulate that Mr. MOORE be released from the Sacramento County Main Jail on
10   Thursday, September 18, 2014, to the custody of the US Marshals during the morning
11   transport to the US Marshals office on the 5th floor of the Federal Building.
12   Investigator, Frank W. Huntington, III, will pick up Mr. MOORE from the US Marshals
13   office at 8:00 a.m. and deliver him to the Sacramento International Airport (SMF) for his
14   flight to Tri Cities, Tennessee Airport (TRI). The family has shopped the various flights
15   available for Mr. Moore and will purchase the tickets once this order is signed. It seems
16   that depending on the airline chosen, the travel time will be between 8-11 hours (which
17   is why it seems necessary to have him travel the day before the actual funeral service).
            Upon arrival in Tennessee, Ms. January Rush, who is Mr. MOORE's adult
18
     daughter, will supervise and act as a third party custodian during the transport from the
19
     airport, to his home, funeral service and burial at the cemetery until Mr. MOORE'S
20
     return to Sacramento. On Monday, September 21, 2014, Ms. January Rush will deliver
21
     Mr. MOORE to the Tri Cities, Tennessee Airport (TRI) for his return flight to the
22
     Sacramento International Airport (SMF). Investigator Frank W. Huntington III, will
23
     pick up Mr. MOORE from the Sacramento International Airport (SMF) and deliver him
24
     to the US Marshals office on the 5th floor of the Federal Building before 2:00 p.m. on
25
     Tuesday, September 22, 2014. The US Marshals will then return Mr. MOORE to the
26
     Sacramento Main Jail during their afternoon transport.
27
           Therefore, attorney TASHA PARIS CHALFANT, has arranged for investigator
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     Frank W. Huntington III and January Rush, to execute the above described


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     responsibilities. Mr. Moore is currently in custody for violating his conditions of pretrial
 1
     release by committing a new law violation and for failing to report contact with law
 2
     enforcement within 24 hours to Pretrial Services.
 3
 4
            Pretrial Services has confirmed the passing of the defendant’s son. Pretrial
 5   Services has contacted the defendant’s daughter, January Rush, who has agreed to remain
 6   with the defendant at all times and act as a temporary third-party custodian during this
 7   period of release. Ms. Rush has agreed to assist with his supervision and report any
 8   known violations to Pretrial Services during this time period.
 9
10          Pretrial Services has also confirmed the defendant will be transported to and from

11   the Sacramento International Airport by Investigator, Frank W. Huntington, III.

12
            Please note, Pretrial Services does not have the capability of electronically
13
     monitoring the defendant during this travel period.
14
15          Considering Mr. Moore is currently in custody as a result of violating his
16   conditions of release, Pretrial Services will defer to the Court on whether this travel
17   should be authorized.
18          Mr. MOORE will remain in the custody of either Frank W. Huntington III or
19   January Rush during the entire time of his release. They each agree to keep strict
20   control over Mr. MOORE at all times.
21          For the above reasons, Defendant ROBERT LARRY MOORE, Sr., respectfully
22   requests that the Court allow this temporary release.
23   DATE: September 15, 2014                                 /s/ Tasha Paris Chalfant
                                                              TASHA PARIS CHALFANT
24                                                            Attorney for Defendant
25                                                            ROBERT LARRY MOORE, SR.
26
     DATE: September 15, 2014                                 /s/ Olusere Olowoyeye
27                                                            OLUSERE OLOWOYEYE
28                                                            Assistant U.S. Attorney



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 1        IT IS SO ORDERED.
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 3   Dated: September 16, 2014
                                          _____________________________________
 4                                        CAROLYN K. DELANEY
                                          UNITED STATES MAGISTRATE JUDGE
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